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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ONAS BURGOS SANTIAGO,

       Plaintiff,

v.                                                           Case No.: 8:17-cv-2971-T-33AAS

MUNCHIES PET OF NEW TAMPA, INC.,
TEXT TAMPABAY, LLC,

      Defendants.
______________________________________/

                                               ORDER

        Before the Court is pro se Plaintiff’s Application to Proceed in District Court Without

Prepaying Fees or Costs (“Affidavit of Indigency”) (Doc. 2), which the Court construes as a motion

for leave to proceed in forma pauperis.

       An individual may proceed in forma pauperis if he declares in an affidavit that he “is unable

to pay such fees or give security therefor.” 28 U.S.C. § 1915(a)(1). In the Affidavit of Indigency,

Plaintiff indicates he receives a self-employment monthly income of $9,000.00, and has $825.00

per month in expenses. (Doc. 2). If accurately reported, it appears Plaintiff has sufficient

discretionary income and would be financially able to pay the appropriate filing fee. Accordingly,

the Court cannot grant Plaintiff’s motion to proceed in forma pauperis based on his financial

condition as reported in his Affidavit of Indigency. Nevertheless, Plaintiff will be provided an

opportunity to file an amended affidavit so that he may furnish any additional information or

clarification about his financial condition.

       Accordingly, it is ORDERED that Plaintiff’s Motion to Proceed In Forma Pauperis (Doc.

2) is TAKEN UNDER ADVISEMENT, and Plaintiff shall have until December 29, 2017 to file
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an amended affidavit and provide any additional information as to his financial situation.

Alternatively, Plaintiff may opt to pay the filing fee.

       DONE AND ORDERED in Tampa, Florida on this 12th day of December, 2017.




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